       Case 1:25-cv-00334-BAH          Document 41       Filed 03/08/25      Page 1 of 4




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 GWYNNE A. WILCOX,

                       Plaintiff,
                                                          Civil Action No. 25-cv-334
                       v.
                                                          Judge Beryl A. Howell
 DONALD J. TRUMP, in his official capacity
 as President of the United States

 and

 MARVIN E. KAPLAN, in his official
 capacity as Chairman of the National Labor
 Relations Board,

                       Defendants.




                                            ORDER

       Yesterday evening, Friday, March 7, 2025, defendants President Donald J. Trump and

Marvin E. Kaplan filed a motion to stay pending appeal this Court’s judgment, entered on March

6, 2025, granting plaintiff Gwynne A. Wilcox’s motion for summary judgment and denying

defendants’ cross motion for summary judgment. See Defs.’ Mot. to Stay (“Defs.’ Mot.”), ECF

No. 39. This Court declared—as defendants conceded—that the President’s termination of

plaintiff was unlawful, in violation of the National Labor Relations Act (“NLRA”), 29 U.S.C.

§ 153(a), and therefore null and void. Order at 1, ECF No. 34. In addition, this Court ordered

that plaintiff remains a duly appointed member of the National Labor Relations Board (“NLRB”)

and enjoined the current NLRB Chair, defendant Kaplan, from “in any way treating plaintiff as

having been removed from office, from impeding in any way her ability to fulfill her duties as a

member of the NLRB, and from denying or obstructing her authority or access to any benefits or


                                                   1
       Case 1:25-cv-00334-BAH            Document 41        Filed 03/08/25      Page 2 of 4




resources of her office,” including by failing to “provide plaintiff with access to the necessary

government facilities and equipment so that she may carry out her duties during her term as a

member of the NLRB.” Id. at 2. Plaintiff promptly opposed defendants’ motion for a stay. See

Pl.’s Opp’n, ECF No. 40. For the reasons explained below, defendants’ motion to stay this

Court’s Order is DENIED.

        Whether a stay is appropriate depends on four factors: “(1) whether the stay applicant

has made a strong showing that he is likely to succeed on the merits; (2) whether the applicant

will be irreparably injured absent a stay; (3) whether issuance of the stay will substantially injure

the other parties interested in the proceeding; and (4) where the public interest lies.” Nken v.

Holder, 556 U.S. 418, 434 (2009) (quoting Hilton v. Braunskill, 481 U.S. 770, 776 (1987)).

“The first two factors of the traditional standard are the most critical,” id., and the showing of

likelihood of success must be “substantial,” Citizens for Resp. & Ethics in Washington

(“CREW”) v. Fed. Election Comm'n, 904 F.3d 1014, 1018 (D.C. Cir. 2018).

       For all of the reasons explained in this Court’s Memorandum Opinion, defendants have

not made the requisite showing that they are likely to succeed on the merits. See Mem. Op. at

10-29, ECF No. 35. Defendants have conceded that the President violated the NLRA (29 U.S.C.

§ 153(a)) when removing plaintiff from her presidentially appointed, Senate-confirmed position

as a member of the NLRB, without complying with the statutory procedural and for-cause

requirements for such removal, see id. at 5, and their constitutional challenge to that statute is

foreclosed by binding precedent, Humphrey’s Executor v. United States, 295 U.S. 602 (1935),

see Mem. Op. at 10-11. Defendants’ reliance on case law pertaining to offices led by single

directors instead of multimember boards, with staggered terms, thereby made accountable to the

President through exercise of his appointment power—plus, at the NLRB, his at-will removal



                                                      2
       Case 1:25-cv-00334-BAH           Document 41        Filed 03/08/25      Page 3 of 4




and appointment power over the General Counsel who has investigatory and prosecutorial

powers—is exemplary of how their argument is unsupported by existing doctrine. See Defs.’

Mot. at 2 (citing Collins v. Yellen, 594 U.S. 220 (2021), Seila L. LLC v. Consumer Fin. Prot.

Bureau, 591 U.S. 197 (2020), and Dellinger v. Bessent, No. 25-5052, 2025 WL 559669, at *14

(D.C. Cir. Feb. 15, 2025) (Katsas, J. dissenting)). To be sure, defendants are intent on urging the

Supreme Court to overrule Humphrey’s Executor, Defs.’ Cross Mot. for Summ. J. & Opp’n to

Pl.’s Mot. for Summ. J. at 8 n.2, ECF No. 23; but that aspiration is just that, and the essence of

the rule of law is that this Court may not anticipate changes to legal precedent that have not yet

transpired. See Nat’l Sec. Archive v. CIA, 104 F.4th 267, 272 n.1 (D.C. Cir. 2024) (“This court is

charged with following case law that directly controls a particular issue, ‘leaving to [the

Supreme] Court the prerogative of overruling its own decisions.’” (alterations in original)

(quoting Mallory v. Norfolk S. Ry. Co., 600 U.S. 122, 136 (2023))); Meta Platforms, Inc. v. FTC,

723 F. Supp. 3d 64, 71-72 (D.D.C. 2024) (“To give existing precedent anything less than its full

due based on speculation about what the Supreme Court might someday hold would exceed the

authority of this Court, would inject grave uncertainty in the legal landscape, and would

undermine the rule of law.”).

       Defendants’ failure to show likelihood of success is “an arguably fatal flaw for a stay

application,” CREW, 904 F.3d at 1019, but defendants also fail to satisfy the other factors.

Defendants do not describe any cognizable harm they will experience without a stay, let alone an

irreparable one. See Defs.’ Mot. at 3; see also Mem. Op. at 34-35 (noting the President can

exercise control over the NLRB in ways other than removing plaintiff). Plaintiff and the public,

on the other hand, experience harm every day that she is not able to fulfill her statutory role and

the NLRB is thus unable to function. See Mem. Op. at 33-35.



                                                     3
       Case 1:25-cv-00334-BAH           Document 41        Filed 03/08/25      Page 4 of 4




       Finally, as plaintiff correctly notes, contrary to defendants’ suggestion, the D.C. Circuit’s

grant of an emergency stay pending appeal in Dellinger v. Bessent, No. 25-5052, Dkt. 2104160

(D.C. Cir. Mar. 5, 2025), is not dispositive here. That case involves “a rare single-head agency,”

Pl.’s Opp’n at 1, and thus is not as directly controlled by Humphrey’s Executor as is this case.

       Accordingly, it is hereby--

       ORDERED that defendants’ motion to stay the judgment pending appeal, ECF No.39, is

DENIED.

       SO ORDERED.

       Date: March 8, 2025

       This is a final and appealable order.

                                                     __________________________
                                                     BERYL A. HOWELL
                                                     United States District Judge




                                                     4
